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                   IN THE UNITED STATES DISTRICT COURT
                                                                                  .
                    FOR THE WESTERN DISTRICT OF TEXAS v:r                     ,       ..




                              AUSTIN DIVISION

IRENE BERTRAND,                          §             CIVIL ACTION
Plaintiff                                §
                                         §
vs.                                      §             No. 1:11-cv-01033-LY
                                         §
PHILLIPS & COHEN                         §
ASSOCIATES, LTD.,                        §                  JURY
Defendant                                §



               ORDER ON MOTION TO DISMISS WITH PREJUDICE


      The court, having considered the parties Joint Motion to Dismiss, GRANTS the

Motion and the suit is dismissed with prejudice.



       SO ORDERED.



       Dated                    ,2012.



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                                                   UNIT D STAT    DIS    CTJUDGE
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